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                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA
                                               CRIMINAL MINUTES - GENERAL




 Case No.          CR 22-0057-FMO-01                                                             Date    May 12, 2022


 Present: The Honorable          Fernando M. Olguin, United States District Judge

 Interpreter        none

            Gabriela Garcia                         Maria Bustillos                      Brian Faerstein; Matthew O’Brien
                Deputy Clerk                    Court Reporter/Recorder                          Assistant U.S. Attorney



                U.S.A. v. Defendant(s):          Present Cust. Bond           Attorneys for Defendants:         Present App. Ret.

JOSE MANUEL PEREZ                                   X      X               Chad Pennington, DFPD                     X        X



                       Motion for Review of Magistrate Judge’s Denial of Pretrial Release [56] / Status
 Proceedings:          Conference Re: Representation

       The court and counsel confer regarding the Motion for Review of Magistrate Judge’s Denial
of Pretrial Release [56]. The motion is granted and the conditions of release are modified as
stated in the attached copy of the CR-01 bond form. Defendant may be released upon the
satisfaction of the release conditions, with the exception of the condition requiring the deposit of
$5,000 and Local Form CR-07, which shall be filed within two weeks of the date of this order.

      The government leaves the courtroom. The court hears from defendant and his counsel.
This portion of the transcript is ordered sealed and shall be accessible only to defense counsel.
Defendant’s request for substitution of counsel is withdrawn.




cc: U.S. Probation Office; Criminal intake                                                        MTN: 10 min
                                                                                                  SC:
                                                                                                        00       :       04

                                                                      Initials of Deputy Clerk     gga


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                     UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA

    Case Name: United States of America v. Jose Manuel Perez                                               Case No. CR 22-0057-FMO-01
                                                      ■   Defendant         Material Witness

    Violation of Title and Section: 18:371 Conspiracy; 18:545 Smuggling Goods into the United States
                                              Summons           Out of District      UNDER SEAL        ■    Modified Date: 5/12/22

  Check only one of the five numbered boxes below (unless one bond is to be replaced by another):
  1.    Personal Recognizance (Signature Only)          (c).    Affidavit of Surety With Justification            Release No.
                                                                (Form CR-3) Signed by:
  2.    Unsecured Appearance Bond
         $
                                                                                                                       Release to Pretrial ONLY
    3.           Appearance Bond                                                                                       Release to Probation ONLY
                 $ 20,000                                                                                              Forthwith Release
          (a).    Cash Deposit (Amount or %) (Form CR-7)
                                                                              With Full Deeding of Property:
                  5,000
          (b).    Affidavit of Surety Without
                  Justification (Form CR-4) Signed by:
                                                                                                                       All Conditions of Bond
               Jose Perez                                                                                              (Except Clearing-Warrants
                                                                                                                       Condition) Must be Met
                                                                                                                       and Posted by:



                                                                                                                       Third-Party Custody
                                                               4.     Collateral Bond in the Amount of (Cash           Affidavit (Form CR-31)
                                                                      or Negotiable Securities):
                                                                      $                                                Bail Fixed by Court:
                                                               5.     Corporate Surety Bond in the Amount of:        FMO          / gga
                                                                       $                                                (Judge / Clerk's Initials)


                                                            PRECONDITIONS TO RELEASE
          The government has requested a Nebbia hearing under 18 U.S.C. § 3142(g)(4).
          The Court has ordered a Nebbia hearing under § 3142 (g)(4).
          The Nebbia hearing is set for                                       at               a.m.     p.m.

                                                        ADDITIONAL CONDITIONS OF RELEASE
In addition to the GENERAL CONDITIONS of RELEASE, the following conditions of release are imposed upon you:
■    Submit to:          ■   Pretrial Services Agency (PSA) supervision as directed by PSA;    Probation (USPO) supervision as directed by USPO.
                      (The agency indicated above, PSA or USPO, will be referred to below as "Supervising Agency.")

■    Surrender all passports and travel documents to Supervising Agency no later than                                             , sign a Declaration
         re Passport and Other Travel Documents (Form CR-37), and do not apply for a passport or other travel document during the pendency
         of this case.
■    Travel is restricted to CACD                                                                 unless prior permission is granted by Supervising
         Agency to travel to a specific other location. Court permission is required for international travel.
■    Reside as approved by Supervising Agency and do not relocate without prior permission from Supervising Agency.
■    Maintain or actively seek employment and provide proof to Supervising Agency.               Employment to be approved by Supervising Agency.
     Maintain or begin an educational program and provide proof to Supervising Agency.
                                                                                       Defendant's Initials:              Date:
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  Case Name: United States of America v. Jose Manuel Perez                                            Case No. CR 22-0057-FMO-01
                                                 ■    Defendant        Material Witness
   ■   Avoid all contact, directly or indirectly (including by any electronic means), with any person who is a known victim or
       witness in the subject investigation or prosecution,        including but not limited to
                                                              ;    except                                                              .
   ■   Avoid all contact, directly or indirectly (including by any electronic means), with any known codefendants except in the presence
       of counsel. Notwithstanding this provision, you may contact the following codefendants without your counsel present:
                                                                                                                                            .
       Do not possess any firearms, ammunition, destructive devices, or other dangerous weapons.            In order to determine compliance,
       you agree to submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal.
   ■   Do not use or possess any identification, mail matter, access device, or any identification-related material other than in your
       own legal or true name without prior permission from Supervising Agency.             In order to determine compliance, you agree
       to submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal.
       Do not engage in telemarketing.
       Do not sell, transfer, or give away any asset valued at $                                    or more without notifying and obtaining
       permission from the Court, except                                                                                                    .
       Do not engage in tax preparation for others.
       Do not use alcohol.
       Participate in the electronic remote alcohol monitoring program as directed by Supervising Agency and abide by all the rules and
       requirements of the program. You must pay all or part of the costs for treatment based upon your ability to pay as determined by
       Supervising Agency.
       Do not use or possess illegal drugs or state-authorized marijuana.          In order to determine compliance, you agree to
       submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal.
       Do not use for purposes of intoxication any controlled substance analogue as defined by federal law or street, synthetic, or
       designer psychoactive substance capable of impairing mental or physical functioning more than minimally, except as
       prescribed by a medical doctor.
   ■   Submit to:     ■   drug and/or    alcohol testing. If directed to do so, participate in outpatient treatment approved by Supervising Agency.
       You must pay all or part of the costs for testing and treatment based upon your ability to pay as determined by Supervising Agency.
       Participate in residential       drug and/or     alcohol treatment as directed by Supervising Agency. You must pay all or part of the costs
       of treatment based upon your ability to pay as determined by Supervising Agency.           Release to PSA only      Release to USPO only
       Submit to a mental health evaluation. If directed to do so, participate in mental health counseling and/or treatment approved by
       Supervising Agency. You must pay all or part of the costs based upon your ability to pay as determined by Supervising Agency.
   ■   Participate in the Location Monitoring Program marked below and abide by all of the requirements of the program and any indicated
       restrictions, under the direction of the Supervising Agency. You must pay all or part of the costs of the program based upon your ability
       to pay as determined by the Supervising Agency. You are financially responsible for any lost or damaged equipment.

       Location Monitoring Technology

        ■      Location Monitoring technology at the discretion of the Supervising Agency

       or



                                                                                    Defendant's Initials:               Date:
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  Case Name: United States of America v. Jose Manuel Perez                                                   Case No. CR 22-0057-FMO-01
                                                   ■   Defendant          Material Witness

               Location Monitoring with a bracelet
                    at the discretion of the Supervising Agency or
                    Radio Frequency (RF) or
                    Global Positioning System (GPS)

                    Release to the Supervising Agency only or        Placement of bracelet within 24 hours of release
       or


               Location Monitoring without a bracelet

                    at the discretion of the Supervising Agency or

                    Virtual/Biometric or

                    Voice Recognition



       Restrictions

        ■      Location Monitoring only - no residential restrictions

        ■      Curfew - You are restricted to your residence every day:
                ■   from 11 pm              to 6 am
                    as directed by Supervising Agency

               Home Detention - You are restricted to your residence at all times except for employment, education, religious services, medical
               needs or treatment, attorney visits, court appearances and obligations, essential needs, and                                         ,
               all of which must be preapproved by the Supervising Agency
               Home Incarceration - You are restricted to your residence at all times except for medical needs or treatment, attorney visits, court
               appearances and obligations, and                                     , all of which must be preapproved by the Supervising Agency


      You are placed in the third-party custody (Form CR-31) of                                                                              .
      Clear outstanding          warrants or      DMV and traffic violations and provide proof to Supervising Agency within           days
       of release from custody.
      Do not possess or have access to, in the home, the workplace, or any other location, any device that offers internet access except
       as approved by Supervising Agency.              In order to determine compliance, you agree to submit to a search of your person
       and/or property by Supervising Agency in conjunction with the U.S. Marshal.
      Do not associate or have verbal, written, telephonic, electronic, or any other communication with any person who is less than
       the age of 18 except in the presence of a parent or legal guardian of the minor.
      Do not loiter or be found within 100 feet of any schoolyard, park, playground, arcade, or other place primarily used by children
       under the age of 18.
      Do not be employed by, affiliated with, own, control, or otherwise participate directly or indirectly in the operation of any daycare
       facility, school, or other organization dealing with the care, custody, or control of children under the age of 18.
                                                                                     Defendant's Initials:               Date:
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  Case Name: United States of America v. Jose Manuel Perez                                                   Case No. CR 22-0057-FMO-01
                                                ■   Defendant         Material Witness

       Do not view or possess child pornography or child erotica.       In order to determine compliance, you agree to submit to a search
       of your person and/or property, including computer hardware and software, by Supervising Agency in conjunction with the U.S.
       Marshal.
   ■   Other conditions:
        Curfew may be modified by Pretrial Officer for employment purposes.
        Submit to psychological/psychiatric treatment at Pretrial Services' discretion.
        Barred from reptile trade.
        Defendant may not communicate with any witnesses or codefendants with the exception of witnesses or codefendants with whom he
        lives. However, unless counsel is present, he may not discuss the case with any witnesses or codefendants with whom he lives.




                                               GENERAL CONDITIONS OF RELEASE
  I will appear in person in accordance with any and all directions and orders relating to my appearance in the above entitled matter as
  may be given or issued by the Court or any judicial officer thereof, in that Court or before any Magistrate Judge thereof, or in any other
  United States District Court to which I may be removed or to which the case may be transferred.

  I will abide by any judgment entered in this matter by surrendering myself to serve any sentence imposed and will obey any order or
  direction in connection with such judgment as the Court may prescribe.

  I will immediately inform my counsel of any change in my contact information, including my residence address and telephone number,
  so that I may be reached at all times.

  I will not commit a federal, state, or local crime during the period of release.

  I will not intimidate any witness, juror, or officer of the court or obstruct the criminal investigation in this case. Additionally, I will not
  tamper with, harass, or retaliate against any alleged witness, victim, or informant in this case. I understand that if I do so, I may be
  subject to further prosecution under the applicable statutes.

  I will cooperate in the collection of a DNA sample under 42 U.S.C. § 14135a.




                                                                                     Defendant's Initials:               Date:
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     Case Name: United States of America v. Jose Manuel Perez                                              Case No. CR 22-0057-FMO-01
                                                    ■   Defendant         Material Witness


                                     ACKNOWLEDGMENT OF DEFENDANT/MATERIAL WITNESS
     As a condition of my release on this bond, pursuant to Title 18 of the United States Code, I have read or have had interpreted to me
     and understand the general conditions of release, the preconditions, and the additional conditions of release and agree to comply with
     all conditions of release imposed on me and to be bound by the provisions of Local Criminal Rule 46-6.

     Furthermore, it is agreed and understood that this is a continuing bond (including any proceeding on appeal or review) which will
     continue in full force and effect until such time as duly exonerated.

     I understand that violation of any of the general and/or additional conditions of release of this bond may result in a revocation of
     release, an order of detention, and a new prosecution for an additional offense which could result in a term of imprisonment and/or
     fine.

     I further understand that if I fail to obey and perform any of the general and/or additional conditions of release of this bond, this bond
     may be forfeited to the United States of America. If said forfeiture is not set aside, judgment may be summarily entered in this
     Court against me and each surety, jointly and severally, for the bond amount, together with interest and costs. Execution of the
     judgment may be issued or payment secured as provided by the Federal Rules of Criminal Procedure and other laws of the
     United States, and any cash or real or personal property or the collateral previously posted in connection with this bond may be
     forfeited.




     Date                                   Signature of Defendant / Material Witness                       Telephone Number




     City and State (DO NOT INCLUDE ZIP CODE)



         Check if interpreter is used: I have interpreted into the                                                   language this entire form
          and have been told by the defendant that he or she understands all of it.



     Interpreter's Signature                                                                           Date



     Approved:
                               United States District Judge / Magistrate Judge                         Date

     If cash deposited: Receipt #                                 for $


     (This bond may require surety agreements and affidavits pursuant to Local Criminal Rule 46.)




                                                                                   Defendant's Initials:               Date:
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